Meghan Claiborne

From:                           Shannon Zabel
Sent:                           Monday, August 31, 2020 10:44 AM
To:                             Thomas Malone
Subject:                        Wexler - color photos and dep dates
Attachments:                    HAWKINS D17 (2).png; HAWKINS D16 (2).png; HAWKINS D18 (2).png


Tom,

Attached are color photographs of what was previously Bates labeled D16-D18. Could you please provide me with dates
to depose Ms. Wexler? Depending on how much time you need to finish Officer Hawkins’ deposition, we could try to do
them the same day.

Thanks,

Shannon Zabel
Assistant City Solicitor
City of Philadelphia Law Department
Civil Rights Unit
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